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                   Exhibit AM
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  March 9, 2020

  Mr. Alex V. Chachkes
  Orrick LLP
  51 West 52nd Street
  New York, NY 10019

  Mr. Kevin Hynes
  King & Spalding LLP
  1185 6th Avenue
  New York, NY 10036

  Re: Rebuttal of MAS Zimmerman Report

  Mr. Alex Chachkes and Mr. Kevin Hynes:

  I have reviewed the testing of the two bottles produced in reference to the Zimmerman case by
  Dr. Longo and MAS dated February 24, 2020. In this report Dr. Longo alleges to have identified
  chrysotile using a procedure used by the Colorado School of Mines (CSM) which utilized a 1%
  Iodine in glycerin solution, which was based on the work described by Morton and Baker (1941)1
  for the staining of chrysotile fiber compared to other asbestos fiber types (amphibole). The use
  of iodine staining in and of itself is questionable as it is a presumptive test, the use of standard
  PLM using dispersion staining techniques is not presumptive and allows the actual measurement
  of the unique optical properties of chrysotile allowing identification. Thus, the use of iodine
  staining is neither equivalent nor superior to existing standard techniques.

  The MAS methodology and conclusions are unreliable and erroneous for the following reasons:

          1) Dr. Longo has failed to follow the procedure as outlined by CSM.
          2) Using the iodine staining procedure as described on both of the Zimmerman
             samples, RJ Lee found no stained particles with morphology consistent with
             chrysotile.
          3) The effect of staining chrysotile has limited usefulness as it does not stain all chrysotile
             particles and also stains the non-asbestos varieties of serpentine, along with other
             minerals. Thus, a stained particle cannot be reliably identified. The iodine staining is
             a presumptive test for chrysotile and would require additional confirmatory testing if
             a positive result was encountered.


  1
   Morton, M. and Baker, W.G. (1941) Identification Stain for Chrysotile Asbestos. Canadian Institute of Mining and
  Metallurgy. Trans., Vol. 44, pgs. 515-523.
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          4) The usefulness of the staining is on particles or portion of serpentine particles that are
             damaged or “fluffed up”, as stated by Heide et al. (1949)2 and is visually demonstrated
             in this report.
          5) The refractive index and morphological evidence presented by Dr. Longo to support
             the alleged findings do not have the refractive indices nor the morhology of chrysotile
             and therefore cannot be chrysotile.
          6) Particles reported by MAS as chrysotile have optical properties that are consistent
             with talc.

  In the February 26, and April 2, 1973 CSM reports cited by Dr. Longo, CSM are employing density
  separation techniques and analyzing both the light and heavy fractions using powder X-ray
  diffraction and petrographic microscopy. There were two separations used one was 2.65 specific
  gravity (sg) and analyzed for chrysotile, the other was > 2.90 sg fraction was analyzed for
  tremolite. After the separation of the < 2.66 sg fraction a portion was taken and immersed in a
  1% Iodine in glycerin solution to identify if any chrysotile was present.

  Dr. Longo applied the iodine stain to 1 gram of talc before any density separation took place,
  which is contrary to the procedure described by CSM. In fact, Dr. Longo rinsed the stained sample
  prior to performing his separation, see page 5 and 6 of the MAS report:

          “The talcum/iodine solution in the scintillation vial is rinsed onto a 47 mm MCE
          filter (0.4 micron pore size) with 15 ml of 50/50 solution of methanol and DI water.
          This step is repeated just DI water until the talcum powder on the filter turns from
          amber brown to white. This step is repeated just DE Water until the talcum powder
          on the filter turns from amber brown to white. This step usually takes 3-5 washes”.

  An example of the effectiveness of the Iodine staining is shown in Figure 1a on a ground portion
  of NIST 1866 chrysotile SRM. Note the effect of the iodine staining causing portions of the
  chrysotile to be stained amber brown in the image. In Figure 1b, the top pair of images are the
  effect of staining the chrysotile then rinsing it in accordance to the process described by MAS
  until the amber brown color is no longer visible. Thus, by rinsing the iodine stained sample some
  of the staining effect is lost. If there were particles of chrysotile of a fine particle size they would
  likely nullify the relative effectiveness of the iodine staining. The bottom pair of images are taken
  from the MAS report where they report chrysotile in 1.550 oil, note that no staining is visible.
  Furthermore, none of the plane light images of the alleged chrysotile by MAS show any indication
  of iodine staining.




  2
   Heide, H.E., Wright, W.S., and Rutledge, F.A. (1949) Investigations of the Kobuk River Asbestos Deposits, Kobuk
  District, Northwestern Alaska. Report of Investigations 4414. United States Department of the Interior, Bureau of
  Mines.
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  The specificity of the iodine stain to chrysotile is also problematic and caution must be used for
  any stained particles. As described by Morton and Baker other serpentine minerals that are not
  asbestos will also be stained by this technique. Thus, if non-asbestos serpentine is present the
  staining would result in a false positive. Figure 2 in the top image demonstrates the effect of the
  iodine staining on ground serpentine. The majority of the particles in the field of view are
  serpentine (non-asbestos), note that the iodine stains the particles that appear abraded and does
  nothing to the particles that are not.

  Figures 1 also illustrates the effect of staining on an unground portion of the NIST 1866 chrysotile
  where the iodine is only staining the ends. This effect was described by Heide et al. 1948 as the
  effect of “fluffing.” Figure 2 illustrates the preferential staining of abraded portions of bulk
  serpentine.

  We analyzed each of the Zimmerman bottles using the 1% Iodine stain as described in the CSM
  report and the Morton and Baker publication to an analytical sensitivity of seven and 17
  particles per gram (p/g), or 4.3e-6 and 1.0e-5 ppm respectively. Concentration of stained
  particles was seven and 68 p/g, and 1.9 and 42 ppm respectively. Figure 3 shows non-asbestos
  iodine stained particles by the iodine solution from both samples. Also see appendix A for a
  more detailed report on this approach.

  The generally recognized scientific methods that require PLM all require the measurement of
  morphology, refractive indices (in both the length and width orientations), birefringence, sign of
  elongation, color and description of pleochroism, and extinction angle. Each of these
  measurements must be consistent with a specific species of asbestos in order to positively
  identify asbestos. Once a sample is stained with iodine where the iodine attaches there is no way
  to measure the refractive indices, thus reliance of the staining only would not allow positive
  identification by generally accepted methods. The refractive index cannot be measured of a
  stained particle because the particle must be in direct contact with the refractive index liquid to
  make those measurements. This is also illustrated in Figure 1b with the top pair of images, where
  the stain is present the dispersion staining is incorrect. Where the stain has been rinsed of, the
  dispersion staining colors are correct for chrysotile 1866. Thus, if a particle is iodine stained it is
  not possible to measure the refractive indices and it is impossible to determine if what is being
  observed is chrysotile or another species of serpentine (which would not be asbestos), or another
  phase susceptible to iodine staining.

  After MAS washed the iodine stain from the sample by rinsing as described above, they then
  report chrysotile based on the measurement of the optical properties, from MAS report page 6:

         “Positive identification of chrysotile asbestos bundles is then done by morphology,
         refractive indices, elongation, angle of extinction and birefringence as described in
         ISO 22262-1 PLM Method.”
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  This raises the question, what was the purpose of the iodine staining step? Considering that they
  first washed the iodine from the material then relied upon the refractive indices to identify
  chrysotile as required by the standard methods. More concerning is the fact that they report
  chrysotile by using the refractive indices where the observed refractive indices do not match
  those of chrysotile. Thus they have not identified chrysotile.

  Figure 4 illustrates the dispersion colors of chrysotile for NIST 1866 lengthwise and perpendicular
  to the fiber elongation. The top pair of images are taken directly from ISO 22262-1 while the
  middle pair of images were taken at RJLG using the NIST 1866 reference material. Each of these
  images is taken in 1.550 refractive index liquid. Contrast the colors observed with the images of
  the alleged chrysotile in the MAS report (example bottom paired image from MAS report). Not
  one of the particles presented by MAS have the refractive indices of chrysotile. Therefore, there
  is no chrysotile present in these samples as attested by the report of the same two bottles
  analyzed by RJ Lee Group using both an iodine staining approach and analyzing these same
  samples using standard methods.

  This raises another question, if these particles are not chrysotile, then what are they? These
  particles are talc. Figure 5 illustrates another image from the MAS report where the dispersion
  staining colors are incorrect in the top paired images if the particles were chrysotile. The bottom
  paired images are of talc with a bent edge. Where the edge of a talc sheet are bent the refractive
  index in this orientation parallel with the lower polarizer, you have a near refractive index match
  in a 1.550 liquid. Figure 6 is an SEM image of a talc sheet bent with the refractive indices shown
  for the orientations presented. Also attached as Appendix B is additional information regarding
  optical orientation of talc and its affect in various refractive index liquids.

  In summary, MAS has not found chrysotile but have erroneously reported talc particles as
  chrysotile asbestos. This is evident by the lack of any iodine stained particles and particles with
  refractive indices consistent with talc being reported as chrysotile. Therefore, there is no
  chrysotile present in these samples as attested by the report of the same two bottles analyzed
  by RJ Lee Group using both an Iodine staining approach (discussed in this report) and analyzing
  these same samples using standard methods.

  I reserve my right to supplement this report if more information becomes available to me. Please
  let me know if you have any questions.

  Sincerely,




  Matthew S. Sanchez PhD
  Principal Investigator
  msanchez@rjleegroup.com
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  Attachments:
        Appendix A – Iodine staining analysis of the two Zimmerman samples.
        Appendix B – Refractive indices of talc in 1.586 and 1.550 liquids.
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  Figure 1a. Image is NIST 1866 chrysotile SRM in 1% Iodine solution, note the effect of the staining on the
        abraded edges of the chrysotile, also note the longitudinal splitting of the asbestiform habit.
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    Figure 1b. The upper pair of images are of previously stained chrysotile after rinsing, note the partial
   loss of the effect of the iodine staining at the edges. This is more evident in the top right image where
     the dispersion staining blue color is seen only where the iodine is not. The lower pair of plane light
      images are taken from the MAS report where no staining is observable. This is not due to it being
   washed off but due to the fact that these particles are not chrysotile or serpentine, but in fact are talc.
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    Figure 2. The upper pair of images are bulk serpentine and the effect of the iodine stain. Note that
    although the majority of the particles in the field of view are serpentine group minerals only a small
  portion are stained and those that are stained are not chrysotile. The lower pair of images are the same
   serpentine sample immersed in 1.550 liquid in both plane (left) and cross polarized light (right). Note
       that the iodine is effective only on the more abraded and less crystalline serpentine particles.
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 Figure 4. Dispersion staining colors for chrysotile parallel and perpendicular to the lower polarizer in
1.550 refractive index liquid. The upper pair is taken from ISO 22262-1 page 43. The middle pair was
  taken of the NIST 1866 chrysotile sample in 1.550 liquid at the RJ Lee Group. The lower pair is taken
 from the MAS report reporting chrysotile in M70484-001. The dispersion staining colors in the lower
pair, which correlate to refractive indices, are not correct for a match to chrysotile. It is also significant
         to note that the morphology illustrated in the lower pair of images is not asbestiform.
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 Figure 5. The upper pair is taken from the MAS reporting of chrysotile in M70484-002. Similar to the
 particles shown in Figure 4 and consistent with all the particles observed and reported as chrysotile by
MAS, the refractive indices are too high relative to chrysotile. The lower pair of images is taken from the
             same sample by RJLG in 1.550 liquid and is simply a curled edge of a talc particle.
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  Figure 6. SEM image with optical orientation with principal vibration directions and corresponding
                      refractive indices as a function of talc plate orientation.
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                              Appendix A
       Iodine staining analysis of the two Zimmerman samples
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March 9, 2020


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Re: Examination of Johnson’s Baby Powder using Iodine Stain


Mr. Alex Chachkes and Mr. Kevin Hynes:


RJ Lee Group (RJLG) has completed the analysis of two baby powder samples associated with the
Zimmerman case acquired from MAS on September 12, 2019. In addition to XRD, TEM, and PLM
reports by conventual methods reported February 24, 2020. This report describes the results of
the samples analyzed using the iodine staining technique described by Morton and Baker in
19411.

No stained asbestiform particles were observed, thus no particles that could be chrysotile were
observed in either sample using the iodine stain. Non-asbestiform stained particles were
observed in both samples by PLM. It could not be determined what mineral these stained
particles are based on the use of the iodine stained technique.

Sample Analysis

Six slide preparations were made by weighing out a mass of talc onto a glass slide, adding two
drops iodine in place of refractive index liquid, and covering with a glass coverslip. The mass of
the talcum powder added was recorded for each slide in mg. Each slide mount was scanned in
its entirety for any stained or asbestiform stained particles. Any stained particles were examined
as to morphology and photographed (Figures 1-5). Additionally, slides of ground serpentinite rock
and NIST 1866 chrysotile were prepared in the same manner as references for comparison.

1
 Morton, Maurice, and W. G. Baker. "Identification Stain for Chrysotile Asbestos." Trans. Canadian Inst. Min. and
Met 44 (1941): 515-523.
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The analytical sensitivity (AS) of this analysis was calculated as the number and mass of one PCM
fiber divided by the total mass analyzed. The dimensions of the PCMe fiber used for the sensitivity
calculation were 5 µm x 0.25 µm. The PLM results are summarized in Table 1 in particles per
gram, weight percent, and parts per million. Stained asbestos means stained particle with
asbestiform habit, chrysotile would belong in this category. Stained particles could be a number
of interference minerals. Interferences in the technique exist due to the fact that minerals other
than serpentine or chrysotile can be stained. Morton and Baker reported olivine, brucite and
hydro-magnesite were stained by iodine. Determining all possible minerals that could be stained
by the iodine solution was beyond the scope of this report.

Conclusion

No stained asbestiform particles were observed during the analysis of these samples. Small
amounts of non-asbestos stained particles were observed in both samples but due to the iodine
stain optical properties could not be determined, thus there is no way to identify further
characterize them with this technique. Thus, when one compares standard methodologies and
the ease and reliability of particle identification based on refractive indices and other optical
properties and inability to rule out mineral interferences by iodine staining there is no
equivalency or superiority to this approach over standard generally accepted XRD, PLM, and TEM
testing methodologies for the presence of asbestos in an unknown sample.

If you have any questions related to this report, please feel free to contact me.

Sincerely,




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Principal Investigator
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724 387-1947
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        Project #:            LLH906295              Sample #:                        3161014 Analyst:                   MMK                                        Date:           3/3/2020

             Sample           White powder stained with Iodine
           Description /




                                Non-asbestos Material %:

                                                                        Talc          Opaques          Misc. Particles
                                                                   Carbonate

                                                                       Slide 1         Slide 2        Slide 3        Slide 4        Slide 5        Slide 6                     avg mass    0.02452
                                                Slide Wt. (g) :            5.01620     5.00600        4.99660        4 98060        4.98190        4.97290
                                                                                                                                                                 Sum
                                    Slide + Sample Wt. (g) :               5.08330     5.00830        5.00010        4 98340        5.04960        4.97660 Mass                AS (p/g) AS (Wt%) Wt%            p/g
                                         Final Sampe Wt. (g) :             0.06710     0.00230        0.00350        0 00280        0.06770        0.00370        0.14710          7        4.3E-10 1.93E-04            7
                                                       R.I. Oil : NA                  NA             NA             NA             NA             NA

                                            Type                       Slide 1         Slide 2        Slide 3        Slide 4        Slide 5        Slide 6         Total
                                          Chrysotile                              0              0              0              0              0              0             0
                                           Stained                                0              0              1              0              0              0             1




                                                                                                                                                                                                      Recorded Images
                                                                                                                                                                                                                              Sign of
                                                                       Color / Pleochroism           Indices of Refraction                         Sign of       Extinction     Dispersion Staining       Becke Line        Elongation
          Particle   Length     Width
#          Type       (µm)      (µm)          Morphology                 //                ⊥              //             ⊥                        Elongation       Angle          //          ⊥           //       ⊥        //      ⊥

    1 Stained 39.7220           23.674             Sheet           Light brown                            NA             NA             NA              NA          NA
    2                                                                                                                               L M             P    N
    3                                                                                                                               L M             P    N
    4                                                                                                                               L M             P    N
    5                                                                                                                               L M             P    N
    6                                                                                                                               L M             P    N
    7                                                                                                                               L M             P    N
    8                                                                                                                               L M             P    N
    9                                                                                                                               L M             P    N
10                                                                                                                                  L M             P    N
11                                                                                                                                  L M             P    N
12                                                                                                                                  L M             P    N
13                                                                                                                                  L M             P    N
14                                                                                                                                  L M             P    N
15                                                                                                                                  L M             P    N
16                                                                                                                                  L M             P    N
17                                                                                                                                  L M             P    N
18                                                                                                                                  L M             P    N
19                                                                                                                                  L M             P    N
20                                                                                                                                  L M             P    N
21                                                                                                                                  L M             P    N
22                                                                                                                                  L M             P    N
23                                                                                                                                  L M             P    N
24                                                                                                                                  L M             P    N
25                                                                                                                                  L M             P    N




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        Project #:            LLH906295              Sample #:                         3161015 Analyst:               MMK                                         Date:            3/3/2020

             Sample           White powder stained with Iodine
           Description /




                                Non-asbestos Material %:

                                                                         Talc          Opaques          Misc. Particles
                                                                      Carbonate

                                                                        Slide 1         Slide 2       Slide 3       Slide 4       Slide 5        Slide 6                     avg mass 0.00975

                                                Slide Wt. (g) :             4.90110     4.96720        4.96960      4.95330       4 94480        4.90140
                                                                                                                                                               Sum
                                    Slide + Sample Wt. (g) :                4.90360     4.96920        4.97160      4.95470       4 99410        4.90270 Mass                AS (p/g) AS (Wt %) Wt %           p/g
                                         Final Sampe Wt. (g) :              0.00250     0.00200        0.00200      0.00140       0 04930        0.00130        0.05850           17    1.1E-09 4.18E-03 68.376
                                                       R.I. Oil :         NA             NA             NA           NA            NA                 NA

                                            Type                        Slide 1         Slide 2       Slide 3       Slide 4       Slide 5        Slide 6         Total
                                          Chrysotile                               0              0             0             0             0              0             0
                                           Stained                                 1              2             0             1             0              0             0




                                                                                                                                                                                                  Recorded Images
                                                                                                                                                                                                                         Sign of
                                                                        Color / Pleochroism           Indices of Refraction                      Sign of       Extinction Dispersion Staining          Becke Line      Elongation
          Particle   Length     Width
#          Type       (µm)      (µm)          Morphology                   //             ⊥              //           ⊥                         Elongation       Angle            //          ⊥        //         ⊥    //        ⊥

    1 Stained 50.4200           26.752             Sheet            Medium brown                                                  L M             P    N          NA         NA        NA         NA         NA       NA    NA
    2 Stained        43.021     21.45              Sheet            Greenish-brown                                                L M             P    N          NA         NA        NA         NA         NA       NA    NA
    3 Stained         28.7      21.104             Sheet            Washed out brown                                              L M             P    N          NA         NA        NA         NA         NA       NA    NA
    4 Stained        50.852       49.19            Sheet            Light brown                                                   L M             P    N          NA         NA        NA         NA         NA       NA    NA
    5                                                                                                                             L M             P    N
    6                                                                                                                             L M             P    N
    7                                                                                                                             L M             P    N
    8                                                                                                                             L M             P    N
    9                                                                                                                             L M             P    N
10                                                                                                                                L M             P    N
11                                                                                                                                L M             P    N
12                                                                                                                                L M             P    N
13                                                                                                                                L M             P    N
14                                                                                                                                L M             P    N
15                                                                                                                                L M             P    N
16                                                                                                                                L M             P    N
17                                                                                                                                L M             P    N
18                                                                                                                                L M             P    N
19                                                                                                                                L M             P    N
20                                                                                                                                L M             P    N
21                                                                                                                                L M             P    N
22                                                                                                                                L M             P    N
23                                                                                                                                L M             P    N
24                                                                                                                                L M             P    N
25                                                                                                                                L M             P    N




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                             Appendix B
         Refractive indices of talc in 1.586 and 1.550 liquids
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       Talc in 1.586 and 1.55 oil
                  PLM
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